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11                              UNITED STATES DISTRICT COURT
12                                  DISTRICT OF ARIZONA
13   Mi Familia Vota, et al.,
14                                           Case No: 2:21-cv-01423-DWL
            Plaintiffs,
15
                                             ATTORNEY GENERAL’S ANSWER TO
     vs.
16                                           DSCC’S and DCCC’S COMPLAINT IN
                                             INTERVENTION (Doc. 55)
17   Katie Hobbs, et al.,
18          Defendants.
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 1          Defendant Mark Brnovich, Arizona Attorney General (the “Defendant”), through
 2   undersigned counsel, hereby answers the Complaint in Intervention (Doc. 55) submitted
 3   by the DSCC and DCCC (“Plaintiff-Intervenors”) as follows:
 4                                      INTRODUCTION
 5          1.     Defendant Brnovich admits that this action concerned Arizona Senate Bill
 6   1003 and Arizona Senate Bill 1485 but the Court has dismissed the claims relating to SB
 7   1003. The Supreme Court’s opinion in Westberry v. Sanders, 376 U.S. 1 (1964), speaks
 8   for itself. Defendant Brnovich denies the remaining allegations in this paragraph.

 9          2.     Denied.

10          3.     Defendant Brnovich lacks sufficient information to admit or deny the

11   allegations in paragraph 3 related to turnout in Arizona elections and therefore denies the

12
     same. The remainder of the allegations in this paragraph are also denied.
            4.     Defendant Brnovich admits that Arizona has permitted voting by mail
13
     since 1991 and has maintained the Permanent Early Voting List since 2007, but is
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     without knowledge or information sufficient to admit or deny the remaining allegations
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     in paragraph 4 and therefore denies the same.
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            5.     The alleged statements attributed to Governor Ducey, Secretary Hobbs and
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     third parties, and the legal proceedings referenced in paragraph 5 speak for themselves.
18
     The allegations in this paragraph are denied.
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            6.     Defendant Brnovich admits that the Arizona Legislature adopted SB 1003
20
     and SB 1485 but denies the remaining allegations in paragraph 6. The Court has
21
     dismissed the claims relating to SB 1003.
22
            7.     Defendant Brnovich admits that Governor Ducey signed S.B. 1003 on May
23   7, 2021. The provisions of S.B. 1003 and related statutes speak for themselves.
24          8.     Defendant Brnovich admits that Governor Ducey signed S.B. 1485 on May
25   11, 2021. The provisions of S.B. 1485 speak for themselves.
26          9.     Denied.
27          10.    Denied.
28          11.    Defendant Brnovich admits that Plaintiff-Intervenors purport to premise


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 1   their claims on 42 U.S.C. §§ 1983 and 1988, but deny that any such claims are valid.
 2          12.    Paragraph 12 states a legal conclusion to which no response is required.
 3          13.    The first sentence of paragraph 13 states a legal conclusion to which no
 4   response is required. Defendant Brnovich admits the allegations in the second sentence

 5   of paragraph 13.

 6          14.    The first sentence of paragraph 14 states a legal conclusion to which no

 7   response is required. Defendant Brnovich admits the allegations in the second sentence

 8
     of paragraph 14.
            15.    Defendant Brnovich admits that the County Recorder Defendants work or
 9
     reside in Arizona. The remainder of paragraph 15 states a legal conclusion to which no
10
     response is required.
11
            16.    Admit.
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            17.    Paragraph 17 states a legal conclusion to which no response is required.
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            18.    Defendant Brnovich admits that the DSCC is the national senatorial
14
     committee of the Democratic Party but is without knowledge or information sufficient to
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     admit or deny the remaining allegations in paragraph 18.
16
            19.    Defendant Brnovich admits that the DCCC is the national congressional
17
     committee of the Democratic Party but is without knowledge or information sufficient to
18
     admit or deny the remaining allegations in paragraph 19.
19          20.    Denied.
20          21.    Denied.
21          22.    Denied.
22          23.    Denied.
23          24.    The Court has dismissed the claims relating to S.B. 1003, and this
24   paragraph is denied.
25          25.    The Court has dismissed the claims relating to S.B. 1003, and this
26   paragraph is denied.
27          26.    The Court has dismissed the claims relating to S.B. 1003, and this

28   paragraph is denied.


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 1         27.    Defendant Brnovich admits the allegations in the first sentence of
 2   paragraph 27. The cited statutes speak for themselves.
 3         28.    Admit.
 4         29.    Admit.

 5         30.    Admit.

 6         31.    Admit.

 7         32.    Admit.

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           33.    Admit.
           34.    Admit.
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           35.    Admit.
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           36.    Admit.
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           37.    Admit.
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           38.    Admit.
13
           39.    Admit.
14
           40.    Admit.
15
           41.    Admit.
16
           42.    Admit.
17
           43.    Admit that this allegation was accurate when the complaint was filed.
18
           44.    A.R.S. § 16-541 speaks for itself. Defendant Brnovich is without
19   knowledge or information sufficient to admit or deny the allegations in paragraph 44.
20         45.    Defendant Brnovich admits that the PEVL was established in 2007. A.R.S.
21   §§ 16-542 and 16-544 speak for themselves.
22         46.    A.R.S. §§ 16-544 and 16-166 speak for themselves.
23         47.    Defendant Brnovich lacks sufficient information to admit or deny the
24   allegations in paragraph 47 and therefore denies the same.
25         48.    Defendant Brnovich lacks sufficient information to admit or deny the
26   allegations in paragraph 48 and therefore denies the same.
27         49.    Defendant Brnovich lacks sufficient information to admit or deny the

28   allegations in paragraph 49 and therefore denies the same.


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 1          50.    A.R.S. § 16-550 speaks for itself. The Court has dismissed the claims
 2   relating to S.B. 1003, and this paragraph is denied.
 3          51.    A.R.S. § 16-550 and amendments to the same speak for themselves. The
 4   Court has dismissed the claims relating to S.B. 1003, and this paragraph is denied.

 5          52.    A.R.S. § 16-579 and the 2019 Election Procedures Manual speak for

 6   themselves. The Court has dismissed the claims relating to S.B. 1003, and this paragraph

 7   is denied.

 8
            53.    Denied.
            54.    The 2019 EPM speaks for itself; admitted that the Attorney General must
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     approve a draft EPM for it to take effect; the remainder of the allegations are denied.
10
            55.    Defendant Brnovich lacks sufficient information to admit or deny the
11
     allegations in paragraph 55 and therefore denies the same.
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            56.    The Court has dismissed the claims relating to S.B. 1003, and this
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     paragraph is denied.
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            57.    The Court has dismissed the claims relating to S.B. 1003, and this
15
     paragraph is denied.
16
            58.    The Court has dismissed the claims relating to S.B. 1003, and this
17
     paragraph is denied.
18
            59.    The Court has dismissed the claims relating to S.B. 1003, and this
19   paragraph is denied.
20          60.    The source cited for the allegations in paragraph 60 speaks for itself.
21          61.    Defendant Brnovich is without knowledge or information sufficient to
22   admit or deny the allegations in paragraph 61 and therefore denies the same. The
23   unspecified alleged statements by county and state elections officials and court rulings
24   speak for themselves.
25          62.    The results of the counties’ hand audits speak for themselves.
26          63.    The source cited for the allegations in paragraph 63 speaks for itself.
27          64.    The source cited for the allegations in paragraph 64 speaks for itself.

28          65.    A.R.S. § 16-648 and the alleged statements of the Governor and the


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 1   Secretary of State cited in paragraph 65 speak for themselves.
 2          66.    The dispositions in Bowyer v. Ducey, 506 F. Supp. 3d 699 (D. Ariz. 2020),
 3   and any other unspecified legal proceedings referenced in paragraph 66 speak for
 4   themselves.

 5          67.    The disposition in Ward v. Jackson, No. CV-20-0343-AP/EL, 2020 WL

 6   8617817 (Ariz. Dec. 8, 2020), speaks for itself.

 7          68.    Defendant Brnovich is without knowledge or information sufficient to

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     admit or deny the allegations in paragraph 68 and therefore denies the same.
            69.    Defendant Brnovich is without knowledge or information sufficient to
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     admit or deny the allegations in paragraph 69 and therefore denies the same.
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            70.    Defendant Brnovich is without knowledge or information sufficient to
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     admit or deny the allegations in paragraph 70 and therefore denies the same.
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            71.    Defendant Brnovich is without knowledge or information sufficient to
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     admit or deny the allegations in paragraph 71 and therefore denies the same.
14
            72.    Defendant Brnovich is without knowledge or information sufficient to
15
     admit or deny the allegations in paragraph 72 and therefore denies the same.
16
            73.    The content of the alleged letter of Maricopa County Recorder Stephen
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     Richer speaks for itself, and the allegations in this paragraph are otherwise denied.
18
            74.    The content of the alleged letter of Maricopa County Recorder Stephen
19   Richer speaks for itself, and the allegations in this paragraph are otherwise denied.
20          75.    Defendant Brnovich is without knowledge or information sufficient to
21   admit or deny the allegations in paragraph 75 and therefore denies the same.
22          76.    Defendant Brnovich is without knowledge or information sufficient to
23   admit or deny the allegations in paragraph 76 and therefore denies the same.
24          77.    Denied.
25          78.    Defendant Brnovich admits that legislative support “coalesced” for S.B.
26   1003 and S.B. 1485 but denies the remaining allegations in paragraph 78.
27          79.    The Court has dismissed the claims relating to S.B. 1003, and this

28   paragraph is denied.


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 1         80.    The Court has dismissed the claims relating to S.B. 1003, and this
 2   paragraph is denied.
 3         81.    The Court has dismissed the claims relating to S.B. 1003, and this
 4   paragraph is denied.

 5         82.    The Court has dismissed the claims relating to S.B. 1003, and this

 6   paragraph is denied.

 7         83.    The Court has dismissed the claims relating to S.B. 1003, and this

 8
     paragraph is denied.
           84.    The Court has dismissed the claims relating to S.B. 1003, and this
 9
     paragraph is denied.
10
           85.    The Court has dismissed the claims relating to S.B. 1003, and this
11
     paragraph is denied.
12
           86.    The Court has dismissed the claims relating to S.B. 1003, and this
13
     paragraph is denied.
14
           87.    The Court has dismissed the claims relating to S.B. 1003, and this
15
     paragraph is denied.
16
           88.    The Court has dismissed the claims relating to S.B. 1003, and this
17
     paragraph is denied.
18
           89.    Arizona law, as it existed prior to the enactment of S.B. 1485, speaks for
19   itself. Defendant Brnovich is without knowledge or information sufficient to admit or
20   deny the allegations in paragraph 89 and therefore denies the same.
21         90.    The provisions of S.B. 1485 speak for themselves.
22         91.    The provisions of S.B. 1485 speak for themselves.
23         92.    The provisions of S.B. 1485 speak for themselves.
24         93.    The provisions of S.B. 1485 speak for themselves.
25         94.    The provisions of S.B. 1485 and other provisions of A.R.S. § 16-544 speak
26   for themselves. Defendant Brnovich is without knowledge or information sufficient to
27   admit or deny the remaining allegations in paragraph 94, for which the Complaint cites

28   no supporting source, and therefore denies the same.


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 1         95.    Denied.
 2         96.    Defendant Brnovich is without knowledge or information sufficient to
 3   admit or deny the allegations in paragraph 96 and therefore denies the same.
 4         97.    Denied.

 5         98.    Denied.

 6         99.    Denied.

 7         100.   Denied.

 8
           101.   Denied.
           102.   Defendant Brnovich is without knowledge or information sufficient to
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     admit or deny the allegations in paragraph 102 and therefore denies the same.
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           103.   Denied.
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           104.   Defendant Brnovich is without knowledge or information sufficient to
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     admit or deny the allegations in paragraph 104 and therefore denies the same.
13
           105.   The Court has dismissed the claims relating to S.B. 1003, and this
14
     paragraph is denied.
15
           106.   Denied.
16
           107.   Denied.
17
           108.   Senator Leach’s alleged statements and provisions of Arizona law
18
     governing the status of inactive voters on the PEVL speak for themselves.
19         109.   Denied.
20         110.   Defendant Brnovich is without knowledge or information sufficient to
21   admit or deny the allegations in paragraph 110 and therefore denies the same.
22         111.   Denied.
23         112.   Denied.
24         113.   Defendant Brnovich is without knowledge or information sufficient to
25   admit or deny the allegations in paragraph 113 and therefore denies the same.
26         114.   The alleged statements of Representative Bolding and Representative
27   Grantham speak for themselves. Defendant Brnovich denies the allegations in paragraph

28   114 to the extent they allege that Representative Grantham’s alleged statements reflect a


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 1   racially discriminatory purpose.
 2         115.   Denied.
 3         116.   Representative Kavanagh’s alleged statements speak for themselves.
 4   Defendant Brnovich denies the allegations in paragraph 116 to the extent they allege that

 5   Representative Kavanagh’s alleged statements reflect a racially discriminatory purpose.

 6         117.   Denied.

 7         118.   Denied.

 8
           119.   Denied.
           120.   Denied.
 9
           121.   Denied.
10
           122.   Defendant Brnovich re-alleges and incorporates by reference his responses
11
     to paragraphs 1-121.
12
           123.   The Court has dismissed this count, and this paragraph is denied.
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           124.   The Court has dismissed this count, and this paragraph is denied.
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           125.   The Court has dismissed this count, and this paragraph is denied.
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           126.   The Court has dismissed this count, and this paragraph is denied.
16
           127.   The Court has dismissed this count, and this paragraph is denied.
17
           128.   The Court has dismissed this count, and this paragraph is denied.
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           129.   The Court has dismissed this count, and this paragraph is denied.
19         130.   The Court has dismissed this count, and this paragraph is denied.
20         131.   The Court has dismissed this count, and this paragraph is denied.
21         132.   Defendant Brnovich re-alleges and incorporates by reference his responses
22   to paragraphs 1-131.
23         133.   Section 2 of the Voting Rights Act speaks for itself.
24         134.   Paragraph 134 states a legal conclusion to which no response is required.
25   Section 2 of the Voting Rights Act and Thornburg v. Gingles, 478 U.S. 30 (1986), speak
26   for themselves.
27         135.   Paragraph 135 states legal conclusions to which no response is required.

28   Village of Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S. 252


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 1   (1977), speaks for itself.
 2          136.   Denied.
 3          137.   Defendant Brnovich re-alleges and incorporates by reference his responses
 4   to paragraphs 1-136.

 5          138.   The Fourteenth Amendment speaks for itself.

 6          139.   The Fifteenth Amendment speaks for itself.

 7          140.   Paragraph 140 states legal conclusions to which no response is required.

 8
     Village of Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S. 252
     (1977), speaks for itself.
 9
            141.   Denied.
10
                                    AFFIRMATIVE DEFENSES
11
            142.   The allegations in the complaint fail to state a claim.
12
            143.   Plaintiffs’ requested relief is barred by the Purcell principle.
13
                              RESPONSE TO PRAYER FOR RELIEF
14
            Defendant Brnovich denies that Plaintiff-Intervenors are entitled to any of the
15
     relief requested.
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 1   Respectfully submitted this 26th day of September, 2022.
 2
                                             MARK BRNOVICH
 3
                                             ATTORNEY GENERAL
 4
                                             By: s/ Robert J. Makar
 5                                           Joseph A. Kanefield (No. 15838)
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 6                                           Brunn (“Beau”) W. Roysden III (No. 28698)
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                                             General
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 1                             CERTIFICATE OF SERVICE
 2
           I hereby certify that on this 26th day of September, 2022, I caused the foregoing
 3
     document to be electronically transmitted to the Clerk’s Office using the CM/ECF
 4
     System for Filing, which will send notice of such filing to all registered CM/ECF users.
 5

 6
                                              s/ Robert J. Makar
 7                                            Robert J. Makar
                                              Counsel for Mark Brnovich, Arizona Attorney
 8
                                              General
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